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 7

 8                        IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                 ) 2:05-CR-00034-LKK
                                               )
12               Plaintiff,                    )
                                               ) STIPULATION AND ORDER RECALLING
13         v.                                  ) BENCH WARRANT AND ISSUING
                                               ) SUMMONS TO APPEAR
14   DAVID TALCOTT USSERY,                     )
                                               )
15                                             ) Judge: Hon. Lawrence K. Karlton
                 Defendant.                    )
16                                             )
                                               )
17

18                                         STIPULATION

19         The United States, by and through its undersigned counsel, and

20   the defendant, by and through his counsel of record, hereby stipulate

21   as follows:

22      1. On July 9, 2013, the defendant appeared before the Court on a

23         supervised release violation petition.        The Court sentenced the

24         defendant to a term of imprisonment of time served and a fifty-

25         two-month term of supervised release.

26      2. On November 4, 2013, the Probation Officer filed a supervised

27         release violation petition and requested that the Court issue a

28   ///


     Stipulation to Recall Bench Warrant        1              United States v. Ussery
            Case 2:05-cr-00034-KJM Document 351 Filed 11/15/13 Page 2 of 3


 1         bench warrant for the defendant’s arrest.         That same day, the

 2         Court issued a bench warrant for the defendant’s arrest.

 3      3. On November 11, 2013, the defendant was encountered by the San

 4         Francisco Police Department at a hospital in San Francisco.            The

 5         defendant was in the hospital on account of a heart condition

 6         that required in-patient medical treatment.

 7      4. The San Francisco Police Department notified the United States

 8         Marshals Service and the Marshals Service took custody of the

 9         defendant.    The Marshals Service has exercised twenty-four-a-day

10         custody of the defendant since Monday, November 11.

11      5. As of November 15, 2013, the defendant remains in the hospital

12         and is unlikely to be discharged until late next week.

13      6. Given the defendant’s medical condition and the need for in-

14         patient medical treatment that is not immediately available in

15         an in-custody setting, the parties request that the Court recall

16         the bench warrant and instead issue a summons commanding the

17         defendant’s appearance on Monday, December 2, 2013, at 2:00 p.m.

18         before Magistrate Judge Carolyn K. Delaney.

19      7. The Federal Defender’s Office previously represented the

20         defendant and requests that they be re-appointed in this case.

21      8. The Probation Officer does not join this stipulation, however,

22         the Probation Officer will not oppose the stipulation.

23   IT IS SO STIPULATED.

24

25   DATED: November 15, 2013                /s/ Justin L. Lee   _
                                           JUSTIN L. LEE
26                                         Assistant U.S. Attorney
27   DATED: November 15, 2013                /s/ Tim Zindel     _
                                           TIM ZINDEL
28                                         Attorney for David Talcott Ussery
                                           (as authorized on November 14, 2013)

     Stipulation to Recall Bench Warrant        2              United States v. Ussery
            Case 2:05-cr-00034-KJM Document 351 Filed 11/15/13 Page 3 of 3


 1
                                           ORDER
 2
           Pursuant to the parties’ stipulation, the bench warrant issued
 3
     on November 4, 2013 as to defendant David Talcott Ussery is RECALLED.
 4
     The Clerk is directed to issue a summons commanding defendant
 5
     Ussery’s appearance on Monday, December 2, 2013, at 2:00 p.m. before
 6
     Magistrate Judge Carolyn K. Delaney. Further, the Federal Defender is
 7
     re-appointed in this case.
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 9
     DATED: November 15, 2013
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     Stipulation to Recall Bench Warrant      3                United States v. Ussery
